                       Case 2:16-cv-00128-LGW-BWC Document 61 Filed 02/15/19 Page 1 of 1
          AO 456 (Rev. 5/85) Notice



                                      United States District Court
                                                Southern District of Georgia
           ROBERT CASTLEBERRY


                                                                                                 NOTICE

                                           v.
           CAMDEN COUNTY
                                                                            CASE NUMBER:           CV216-128



          TYPE OF CASE:                         ✘ CIVIL                              CRIMINAL

            ✘     TAKE NOTICE that a proceeding in this case has been set for the place date, and time set forth below:

          PLACE                                                               ROOM NO.
                   Federal Courthouse                                                         Courtroom 1
                   801 Gloucester Street
                   Brunswick, GA                                              DATE AND TIME
                                                                                              06/04/2019 at 9:00 am
          TYPE OF PROCEEDING

           Jury Selection / Trial




                  TAKE NOTICE that a proceeding in this case has been continued as indicated below:

          PLACE                                 DATE AND TIME PREVIOUSLY SCHEDULED               CONTINUED TO, DATE AND TIME




                                                                              Scott L. Poff
                                                                             U.S. MAGISTRATE JUDGE OR CLERK OF COURT


           02/15/2019                                                         s/ Whitney Sharp
          DATE                                                               (BY) DEPUTY CLERK

                                                                             Phone No. 912-658-6667
          To
                  Adeash Amarnauth Lakraj
                  Charles A. Dorminy
                  William S. Mann




GAS Rev 2/5/02
